

Excel Sports Mgt., LLC v Eways (2022 NY Slip Op 06427)





Excel Sports Mgt., LLC v Eways


2022 NY Slip Op 06427


Decided on November 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 15, 2022

Before: Manzanet-Daniels, J.P., Webber, Mazzarelli, Friedman, Shulman, JJ. 


Index No. 651043/22 Appeal No. 16666 Case No. 2022-01640 

[*1]Excel Sports Management, LLC, Plaintiff-Appellant,
vEric Eways et al., Defendants-Respondents.


Sheppard, Mullin, Richter &amp; Hampton LLP, New York (Jonathan Stoler of counsel), for appellant.
Clayman Rosenberg Kirshner &amp; Linder, LLP, New York (James Valentino of counsel), for Eric Eways, respondent.
Winston &amp; Strawn LLP, New York (Jeffrey L. Kessler of counsel), for Klutch Sports Group, LLC, respondent.



Appeal from order, Supreme Court, New York County (Robert Reed, J.), entered on or about April 13, 2022, which, to the extent appealed from as limited by the briefs, denied plaintiff's motion for a preliminary injunction against defendants, unanimously dismissed, without costs, as moot.
This case presents a situation where the party appealing from the order has already been granted the relief it is seeking, namely the enforcement of a noncompete agreement for the period of eight months following the employee's resignation. This Court previously issued an appellate injunction pending a determination of the appeal or October 15, 2022, whichever came first. Thus, the preliminary injunction initially sought and subsequently ordered by this Court has expired by its own terms, and plaintiff no longer remains aggrieved from the order to the extent it has been appealed from. As there is no longer a live controversy and the issues presented are academic, the appeal is dismissed as moot (Matter of Javier R. [Robert R.], 43 AD3d 1 [1st Dept 2007]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 15, 2022








